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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                                    :
                                                            : CIVIL No. CCB-13-2240
           v.                                               : Criminal No. CCB-08-0411
                                                            :
OTIS RICH                                                   :
                                                        ...o0o...

                                                 MEMORANDUM



           Federal prison inmate Otis Rich has filed a “Request for Relief” under Fed.R.Civ.P.

60(b). The government has responded, arguing that the motion does not state a basis for relief

under Rule 60(b) but rather amounts to a second or successive motion under 28 U.S.C. § 2255,

over which this court has no jurisdiction unless authorized by the Fourth Circuit. The

government is correct.1

           Rich pled guilty to conspiracy to possess with intent to distribute five kilograms or more

of cocaine. He now asserts that he was improperly sentenced as a career offender, but this is

essentially the same argument advanced in his first § 2255 motion (ECF No. 293) denied by

Judge Quarles in a thorough memorandum opinion (ECF No. 333) issued January 10, 2012.

That denial was affirmed by the Fourth Circuit. United States v. Rich, No. 12-6471, 2012 WL

3105587 at *18 (4th Cir. Aug. 1, 2012).

           A Rule 60(b) motion is not the appropriate basis for a motion attacking Rich’s sentence.

United States v. Winestock, 340 F.3d 200, 207 (4th Cir. 2003). And Rich has not obtained

authorization from the Fourth Circuit to file a second or successive motion under § 2255.




1
    This case was reassigned to me after the retirement of Judge William D. Quarles, Jr., in February 2016.
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         Accordingly, the motion must be denied. A separate Order follows.2



September 22, 2016                                                             /S/
Date                                                            Catherine C. Blake
                                                                United States District Judge




2
 Rich is not entitled to relief in any event. His career offender status rests on two prior drug convictions which
qualify as “felony drug offenses” under the guidelines (§ 4B1.1) without considering the statements of probable
cause.
